3/17/22. 4:30 PM . i \ \ { L-

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BBB.

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File a Complaint

File Complaint against Snap-on Credit, LLC | Better Business Bureau

Better Business Bureau®

Feedback from consumers is vital to BBB. We appreciate your willingness to report this information
to us. We look forward to helping you and the business work toward a resolution.

Your complaint details:

First Name: Joey
Last Name: Kimbrough

Email: joeykokomo2002@yahoo.com

Phone: 7654378451

Street Address: 1712 Candy Court South

State: IN

City: Kokomo
Zip: 46902

Country: USA

Description of Complaint:

| sent an inital complaint dated 2/14/22 with the inaccuracies that
are being reported differently across Experian and Equifax. They
(Snap-On Credit) received that letter with certified returned
receipt on 2/18/22. Their response was a "canned" response
that all is well and they are reporting out accurately. A second
letter was sent today (3/17/22) certified signature required with
further violations highlighted. | hope they they cure the
deficiencies by fixing or deleting the inaccurate items as required

by Law.

Desired Settlement:
Correction to a credit report

Does your complaint invoive a health issue?:

No

httns:-//www hbh oro/file-a-comniaint/0654-67000634/farm

Snap-on Credit, LLC

9 950 Technology Way
STE 301,
Libertyville, iL 60048-
5339

oJ (877) 777-8455

if you have any questions
or concerns, please
contact the BBB assigned
to your complaint:
BBB of Chicago &
Northern illinois
9 330 N. Wabash, Sie.
3120
Chicago, IL 60611-
7621

® Email this BBB

o (312) 832-0500 or Toll
Free at (888) 982-
0210

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__| Message received trom: the business about your complaint

MESSAGE FROM BUSINESS:
To whom it may concern, -— fs

I write on behalf of Snap-on Credit LLC (“SOC”) in
response to the complaint about Snap-on Credit lodged by Mr.
Joey Kimbrough. I note at the outset that Snap-on Credit does
not do business with consumers; rather, it finances the
acquisition of tools, tool storage, and diagnostic equipment by
professional auto mechanics and technicians who use the product
in their work, not for persona}, family, or household purposes.
The transaction about which Mr. Kimbrough complains is a
commercial transaction.

A review of the claims that Mr. Kimbrough has made
through the e-oscar system about what SOC is reporting to the
credit reporting agencies reveals that Mr. Kimbrough thinks that
SOC is reporting the original/high credit amount and the date
last active inaccurately. SOC has again reviewed its records and
maintains that this information is, in fact, being reported
accurately. That said, if Mr. Kimbrough would like to provide
more specifics as to why he thinks this information is being
reported inaccurately, he is welcome to contact me at

Uniess we hear from Mr. Kimbrough by the close of
business on March 28, 2022, SOC will report same in response to
Mr. Kimbrough’'s e-oscar communications.

Very truly yours,
Snap-on Credit LLC

Michael H. Walsh
Director of Compliance/Ass’t Corpcerate Counse!

The consumer provided the following when submitting
the Compiaint to BBB

bluecomplaints.bbb.org
